Case 1:08-cr-00218-KD-M Document 139 Filed 05/14/09 Page 1 of 1        PageID #: 395




             IN THE UNITED STATES DISTRICT COURT FOR THE
                  THE SOUTHERN DISTRICT OF ALABAMA

UNITED STATES OF AMERICA,                     *

vs.                                           * CRIMINAL NO. 08-00218-005

HECTOR DIMATULAC                              *


                      ORDER ON PETITION FOR REMISSION

       This action comes before the Court on the United States' petition for

remission of all of the unpaid portion of defendant's special assessment imposed in

this case on March 27, 2009 (Doc. 136).

       The petition complies with 18 U.S.C. §3573 and shows just cause why a

remission of all of the unpaid portion of defendant's special assessment would be

in the interest of justice.

       It is therefore ORDERED that the Government's petition for remission is

GRANTED and the unpaid portion of defendant's special assessment in the

amount of $100.00 is REMITTED.

       DONE this 12th day of May, 2009.


                                 /s/ Kristi K. DuBose
                                 KRISTI K. DuBOSE
                                 UNITED STATES DISTRICT COURT JUDGE
